a

Case opitatehe72” BRM-DRG ECF No. 1, PagelD.1 Filed 10/16/24 Page 1 of 26

nin © UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

DERRICK UEE CARDEULO-SMITh #267009,

Plaintiff, Case: 2:24-ev-12737
Vs Assigned To : McMillion, Brandy R.
Referral Judge: Grand, David R.
Vs Hon: —Assign.-Date : 10/16/2024 ~
SEAN COMBS, Description: CMP
a/a SEAN JOHN COMBS, \___ CARDELLO-SMITH_V. COMBS ET_AL(EV)

a/k/a/ PUFF DADDY, alk/a/ P, DIDDY

BAD BOY RECORDS LABLUE OWNER & FOUNDER

SEAN COMBS MUSIC PRODUCER

SEAN COMBS RECORDING ARTIST,

KYM WORTHY-In her Civilian & Individual Capacity,

KYM WORTHY-in her Official capacities

WARREN EVANS--In his Individual Capacity

WARREN EVANS--In his Official Capacities

ROBERT FICANO-IN his Individual capacities, ~

ROBERT FICANO in his Official Capecities,

PATRICK JACKMAN--in his Individual capacity,

PATRICK JACKMAN-Detroit Police Officer In his Official Capscity,

ESTATE OF PATRICK JACKMAN, ~

PATRICIA PENMAN-IN HER INDIVIDUAL CAPACITY
Defendants,

- oo Le oe
COMPUAINT) ~UTS OO ~

Now comes the Plaintiff, Derrick tee Cardello-Smith, in the above

cause and hereby brings this Federal lawsuit against the

Defendants in the action named for the following acts committed

upon the Plaintiff by the Defendants in their Individuel and

Official Capacity--

1. SEAN COMBS DID SEXUALLY ASSAULT THE PUAINTIFF AFTER DRUGGING A
DRINK GIVEN TO AND CONSUMED BY THE PUAINTIFF IN 1997.

2. DEFENDANT SEAN COMBS ACCEPTED $150,000.00 (One-Hundred and
fifty- thousand dollars) from the Plaintiff in 1997 for purposes
of investing into the Bad Boy Record Uahel and did so with the
understanding of providing the Plaintiff with returns in 10, 20
and 30 year deals.

3. Sean Combs signed a Contract stating it would be done and
accepted the money from this Plaintiff and Said Investment with
the understanding that the defendant would NOT GET INVOLVED IN
ANY STATE OR FEDERAL CRIMES, AND IF THAT HAPPENED, IT wout'p
RESULT IN DEFENDANT COMBS PROVIDING PUAINTIFF WITH A TOTAL OF 49%
OF HIS ENTIRE NET WORTH, EMPIRE, COMPANIES, VENTURES, AGENCIES,

OR OTHER MATTERS AS A RESULT OF THE INVESTMENT OF PLAINTIFF INTO
THE DEFENDANTS COMPANY BAD BOY RECORDS.

&. Defendant Sean Combs, along with Defendants Kym Worthy,

2.

Qo

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.2 Filed 10/16/24 Page 2 of 26

Patrick Jackman ‘and other named Defendants all Worked together to

hide the crime committed upon this Plaintiff by the Sexual

Assault of Plaintiff by the Defendant Sean Combs in 1997 and

conspired with each other to ensure that said coverup was done to

hide the Sexual assault and to ensure that the money that the

other named defendants has invested into the Defendants Company
was not at risk and in fact successful.
5. Defendant all worked together to ensure that the Plaintiffs
Sexual Assault was hidden and the Rape Kit Test was held in the
possession af Kym Worthy since 1997 and only tested in April
2024.
6. The Defendants were given the Rape Kit Test Result showing
that the Semen and Other Biological Fluids taken were in fact,
taken from Plaintiffs Body and That they belonged to Defendant
Sean Combs, as will be proven in the Brief in Support thet is
forthcoming.
7. Plaintiff sues all the defendants in their Individual and
Official capacities for hiding the sexual assault of this
Plaintiff by the Defendant from 1997 and for Breach of Contract,
Agreement of Silence and Confidentiality Breach by = other
defendants and persons who witnessed it, and extreme cover-up by
Wayne County Government officials of the Sexual Assault of the
Plaintiff by the Defendant, Sean Combs as clearly identified in
the said agreement signed by ell persons.
9. Defendant Kym Worthy is Sued in her individual capacity for
Brelbch of Contract and Infliction of Cruel and Unusual
Punishment, Emotional damages, Pain, suffering, mental abuse,
sexual abuse by siding and abetting the Defendant Sean Combs to
commit the crime and then profiting from seid crime upon this
Plaintiff for many-many years. __ -

_.. 10. The Crimes Committed upon Plaintiff by ‘Defandents 1 Violate the

following Statutes--MICHIGAN CIviti RIGHTS UAUS--EULUTOT ~LARSEN
CIVIL RIGHTS ACT OF 1976, MICHIGAN CIVIU RIGHTS LAW 453, 18
U.S.C 2242 FEDERAU STATUTE AGAINST SEXUAL ASSAULT--18 U.S.C. 2242
PROHIBITING GOVERNMENT OFFICIAUS FROM USING THEIR AUTHORITY TO
COMMIT RAPE AND COVER UP RAPE.
11. The Crime was Witnessed by a Person who is has signed a
Notarized Affidavit attesting that in 1997 he saw the Sexual
Assault of this Plaintiff, being committed upon the Plaintiff by
Sean Combs and then the Coverup committed upon the Plaintiff by
the remaining named defendants in this action in 1997. He was
discovered in 2024 and he has attested by sworn complaint to
these acts being done upon the plaintiff, thereby removing and
waiving any and all Statute of Utimitations because the Witness
Came Forward on September 23, 2024 and is being brought to this
Court for legal action against the defendants Individually and
Jointly as proven by his affidavit attached to this Pleading.

AMOUNT OF DAMAGES SOUGHT BY PLAINTIFF

Plaintiff hereby seeks a total of $405,000,000.00 (Four Hundred
and Five Million Dollars) to be entered in favor of the Plaintiff
and against Sean Comb for SEXUAL ASSAULT, VIOLATION OF THE

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.3 Filed 10/16/24 Page 3 of 26

PUAINTIFFS RIGHTS TO NOT BE SEXUALLY ASSAULTED, GOVERNMENT
OFFICIAUS USING THEIR OFFICE TO COVER UP THE SEXUAL ASSAULT OF
THIS PUAINTIFF BY DEFENDANT COMBS, and VIOUATION OF THIS
PUAINTIFFS FEDERAL CIVIL RIGHTS CONTRARY TO U.S.C. 18 and other
rules to be outlined in ‘the Brief in Support.

DEMAND FOR A JURY TRIAL

Plaintiff hereby demands a Jury trial in this matter and submits
to this Court the demand for a Jury trial as sllowed by the State
and Federal Constitution.

RELIEF SOUGH

Wherefore, Plaintiff prays this Court will Enter Judgment in
favor of the Plaintiff, Enter Judgment in the amount. of
$405,000,000.00 dollars, grant any further relief this Court deem
necessary. 1

espectfull

(LLY L ~~.
Wr. Derrick Lee Cardeitio-smith
267009

Pro Se Plaintiff

E.C. Brooks Correctional Facility

2500 S. Sheridan Drive

Muskegon, MI 49444

_ . —_ a
- =~ ~_ - -

October 8, 2024

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.4 Filed 10/16/24 Page 4 of 26

Mute ie epson
AGREEMENT TO
aaa SST THENCE An ol

Cont den ALY

Y Esenl: Oo] {Ce} 97

rEse

\, \erRECH He been — paso
SEAA DOH CO MRS deRsoN

3, KYM WotTHY — orncial- Person:

. GEROE PrESTOUW. = er ns SOY WHS
~S — Polize
5, “Datric 2 ZVACIS MAN

ly De ao tTHY DUNN — Bar avonerdunieDve —

L—-ONW ELD WEAELALLTY
— NGREEMEM!

Deéll J oS tt
RELES OF DERRIZ XK | EELAL
Eicon HEREBY Nee To THe

AnD RUIES— I-ToNor
Fol\lowine “VERMS a oecated Foe THE

uae. Bh yotal AssAur and [He

\—~ .

Case 2:24- NS 127 RM
fA MY BM BRG CE -tePagglO 5 (jes Ley 8 page Se AR\of
AN ZOoMBS- AGT) SI Recarden

Flson CF SE ‘
Nid Tavestor YP On <sMiTH -Lommrttectin
vy DERRILI \ ZaroelloS MH

~ Wuwhett97=
\\or72 - ater Adrian and eto ME,

9 - ZMaell
ZR MWA Aci 85 x inst SEAR Lomb
petro Yeo

ned =|) Sinitl h feesto Keer
|- LZ SATO” 7 Fie dd

vos oc 0-207 BO YER OTM ES:
Wg ie oF cep

Ase
Tp KeeP THe LAS (Jn Paseeute—

inte pe FEE “AL. SEEM ENS
Sz fiolent FEDS RL sn hee
< ERIN ZOMRS IN Aa STATE Se oe. S

ZI

PD WS TEREE lo®y— ZArdello~ Smit Kartes
< lye With the Errects of rt AM) Verse
Aw Noth 05 Leo a urbl ZO23-72024-

~ 6-267-7- N Ryats To SRARCS
oa Wot cP /nradels —-Sant © LBs iV

ZW K) Lo oretrol— His sh\NL Kot seEKaVIL

SON — YenesAnd
ol, |S HCERPLAATION Ook

GllEr EY Pin ES -ZoOzZz7
ie = 7 Te hem —Y nny (fo ATION
PIE Naween Zorbs Wi ||
e THE RREMasT By SEN
Oe So clallo Spa IHE ep To Lael

Conrtho OF Up te 4 S/o NU SEAN

- SsTS- \Ai nas~ Win Adaces al hE G-
ree aL tthe ea eit
Me nes Pebdles Ve as oaldRecordi

__le SEAN Como” UQ To Zompany é és) . M

. Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.6 Filed is Page § 9f.26

Tz opera amps

Gti arts Roscaatet TT" oe Te

; Zotibss-L Neel ee OATH leanne
sen “Nd flo larm a <

wl SK

Wests 0 St Mac fe7 nin OM
rit Dekpes ped Set High

ede ctHis MOM

Case 2:24-cv-12737-BRM-DRG ECF No.1, PagelD./ Filed (16/24 Page “Sm 7
ends Smid

)

Or ani i sjan— le X ratect a nandiaL 6 oF

ila iuority An oak or ee
=CNUEST 1M SEAN HOM Daeshes Wwienest

“\ epese OT, Keeping NV agrees FO.

Paty

— “TM. -
Wine ~Lom Adm Worl TN archoue:

AnD il

| eS cfinnin pot Pek Smith Oreos
a Lpimade Lharges? ASA eee
La LEN Flam Ainge
La lof OT ed BY Le be okay
A Risen? FM eatin
Agi cee fee ly

Case 2:24-cv-12737-BRM- DRG ECF No. 1, PagelD.8 Filed ape Page 8 of

L ENAWeéese Sherri Fe ZonwvegttoVs—

Smt Nareas To Colo Fey 507 br
Mis Faxed, yf Sarely Neal Hi SL vesinenlls
For_to-20- Lap yene Rs ats RuexuR
Q— ON hi ele WR Sucthaa |

\ are<s To ave His Emp loyees- Bile
Delors - OF SEXUAL AS SAU LFS or"

EN — 14 Women Will Sy THRTIZS
\23 New THEM .onDi®eeett NMS —

Loy SPI,
NDS \vEsMaentsT LOM o
Ne bs \oct ht? Tack Maiv— rESIOOT _
Rephan Zlivedaviss aby KeAMe TT
AUT RAY! S — N\.Bomm Aerio s Se 7
UK in AMEcH Here an PAVE spon
: SN

gaa Karl Inktes 7 Zompe

B AAN IAL NCCOUNES ~ Rank ng —cheeking—
SS

Case 2:24-cv-12737-BRM-DRG ECF No. 1, Al ue Filed 10/16/24 Page 9 of x

oy Z0
{REN Se Ceres CHL gy
PIMA PRESSE S-VETNURES~ © Se Tose,

Fon Dawe Lac ZAMBNOSHIY DOB

KAREES LD Za ounty A : Acs ts

“Lo Protect Uis Tra mi N EXIM E—

SP TORI - JEW oefhy Aa ec To /
rok TeTNVESNA 709 Mii
SENSE A GGnsfSMNM IN

- oF Feren & ARPES eA SMH OF

nicl He 2 ey Creaibly 0s
WW . Wille qm ove OY a :
tAM S nove)

, ST
NXnol —PELIMENT noel

estan Wi" Hall Cage |
ee Rone And Sri WI biol te
Us) caps oF Soha

Case 2:24-cv-12737-BRM-DRG ECF Ri PagelD.10 Filed 10/16/24 Page 10 of 26

Earn ane SINS dndithes A
Deeds oF Fistucg Halding.s HWE
<yan \weshi € Prested Te ANS
Qn Brest ESTATE WOM Higyxcat
: 6 resto ‘nol Odhatesho

| sche CreSbashnandal
rn vestinet Th seancomnsts'}|

Case 2:24-cv eran BRM- FS ER Ne PONE EMEA 82 Spm IY 26

ASSAUT YP)
i ‘ce " 5 Tie 2 scopes —sMtt

pes by

et L pe Zharged 0 Oe 5 DED

Zoom ve WE
Deyn. Sau Mow “yea i ee Aad

. TT
False Lape: Ses sa dae onlay

TWIT mut AND S15 LLANES =

ears OL
wrt Hee -Te Sma bet Sh
oe 2027 From 144 7—- 12-5 mH
Nor. » tol ey a) Recause HisTam
Wi Seo ec TeUiliaded- His GisPER5 7 FUR
Ano Sacguzline Wi\| Be fe ser Tete
{na Y\—
Witt Zomlos oT SNA Dy

QILNL

Ve DELLAL Si |WJoas - Sanit o
Sem Aeewl© oT Foe 5170) Oy

Zonitt Mi isecheger pa capes

ho Gr Foie

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.12 Filed 10/16/24 Page 12 of 26

el Tiler

or or cgefe of) As Soicy acne
Nun. eH) Ie efi DAY GWOT

fycqne = TACEMAN - Duggan —

tbe Qa D war - PresTo™

ALAS i 1 2 ELAB
fam manual Ly 99% oH Al
IM np SERN Lor 0S Dane

1 hoot Ponty

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.13 Filed 10/16/24 Page 13 of 26

jane or SEAN Sohn Lo mbs—Sean

1 bS- Musi C DP rsPenrty oe HERS

O " h— Sarid Wi | Hare
“Deanick Cee <a lr ort
Paqhts To LU of APO deed

OM AcHiBvEd in oe Nw Zea mital

jo-zo- 3° JOE Ie Able Smrt Wil

¢ Fs 6 8 HO mil Wii[ Live~
Sesh: Ser farassing 15 Mei

. 1A, “pis
aS plead AY a )
IS om! Sy Sy DA! Al o

Oe ew

aap ‘peez ECE No, 1 Pang ie PSH
ve A S00S 19 DETLOS MOTE AAW

YO ane
Va n€ os

Case-2: 24- Gv- 12737- BRN- DRG ‘ECE No. 1, PagelD. 15 Filed 10/16/24 Page 15 of 26

ap

CATHY M, GARRETI
REPORTING -AGENCY: -DETROIT~POLICE DEPARTMENT -----~~ "WAYNE COUNTY CLERK”
CASE REPORT NUMBER: 0801130106,1

aril. HOMICIDE INCIDENT REPORT = tne

police REPORTED ON JULY 8, 1997 12:45AM OCCURRED ON JULY..4,1991,1
_° AT EAST 8 & VAN DYKE ROADS-DETROIT,MI SCA/CENSUS: 10: 09pmSECTORA » ME 3 Ot}

OFFENSE: HOMICIDE-SPECIAL CIRCUMSTANCES-MURDER: OFFENDER IS A REGL —
DEFENSE EXPERT WITH TRAINING IN MARTIAL ARTS & HAND-TO-HAND) COMBAT-OFFENSE
HIGHTENED--BY INTENTIONAL OVERKILL & INTENTIONAL OVERUSE OF DEFENSE TACTICS-
OFFENDER KNEW 3 ASSAILANTS WERE CIVILIANS & NOT TRAINED COMBATANTS

1, ARRESTRE: DERRICK LEE CARDELLO- SMITH: AGE; 24SEXMALE: RACE : BLACK-ITALIAN-MEX~—
ADDRESS : a WEE-DETROIT, Mi 48226--PhonehaEe

VICTIM: B RP: AGE:47:SEX MALE RACE CAUCASIAN/ WHITE -Na
Relationship to fuspect Offender

Vv. > AGE:53:SEX MALE!RACE CADCASIAN/WHITE NO
Relationship ro Suspect /Offender
. M: AGE:44: SEX:MALE;RACE CADCASIAN/WHITE No

relationship Eo Suspect /Offender
5 ON: Qn duly 7, 1997, Suspect DERRICK LEE CARDELLO-SMITH, Age
24, and His Girlfriend, mpm memmemm Age 20, were leaving the AMC Movie
Theater on 8&8 Miles & Van Dyké Roads in Detroit, Michigan when the 2 were
“approached by three Strangers known now as the above three named Victims. The
Deceased Victim CARL BISHOP and his two friends were leaving a Tavern/Bar,
when they came upon Derritk Leé Cardello-Smith & his Girlfriend wére heading
to their car in the parking Let and then passed the three Men who made
comments about the pair being an “Interracial Couple" and words were then
exchanged--an Argument” ensued“between All the men involved with the Leader, 7
Carl Bishop becoming Enraged that the Suspect was with a woman of the
Opposite Race-She is Caucasian and Needs to stay within her own race, the
three men were saying. The Trio Started yelling obscenities at Cardsallo-Smith
and his Girlfriend, OJ KILLED HIS WOMAN so what this Nigger Here your with!
Offender Cardello-Smith was attempting to keep the matter from
getting more aggressive, when, accarding to witnesses and bystanders, two of
them men started fighting with Cardelio-Smith, who saw that the Third Male,
Carl Bishop was physically attacking his Girlfriend, by slapping her and
calling her a "MNiggdr-Lover™" and "Rate Traitor'".
Cardello-Smith was still engaged in fighting Gunter & Brock, when
his Girlfriend then yelled out, “Derrick Belpi™", Derrick then saw her and:
saw that the (Decedent) Carl Bishop had in fact possessed a Sharp Edged

‘Weapon and/or knife and was about to Stab Derrick's Girlfriend while the
other 2 Men were keeping Derrick Busy and they- were laughing, and then, the
next thing, Offender Cardello-Smith broke Gunters Arm, Broke the Leg of Mr-
Brock, immobilizing both parties and Cardello-Smith then Ran and Intercepted
the knife by placing His Own Arm in between the Weapon and his Girlfriends
Upper Torse and then, the knife penetrated Mr. Cardello-Smith's Right
Forearm, and then, Cardello-Smith grabbed Carl Bishops Wrist agd Pulled the
knife out of his arm and forced it into the Lungs of the Remaining Assailant,
Carl Bishop, Qffender was heard saying to the now deceased Victim “You do not
like Interracial Couples! "You were going to Stab my Girll "Now Your Going
to Die ina Filthy Parking Lot with Your Own Enife in yonr chest!"And then,
Cardéllo-Smith Punch the Victim Car Bishop 17 times and then the pair "Fel"
to the ground... Cardello-Smith then told the Victim, “You shopld have let
this go andjust left us alone!™ Die where you are YOu Racist Bitehi"

Derrick then went to the other 2 pair that were immobolired and
proceeded to kick them and break other bones on their bodies until he was
subdued by Officers who arrived on Scend.-The Victim Carl Bishop was taken to
Emergency Care at St. Johns Hospital where he succumbed to his injurits 2
weeks later~+—-Derrick Cardello~Smith was taken in to custody for Open Murder.

Arréstee Transported to 9th Precint-Eastern District for holding and
processing pending Charges Review by Detectives Jose’ Ortiz & Dawid Cobb

Pea ee yt we eee

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.16 Filed 10/16/24 Page 16 of

;
'

3G bones uate

h fact, Dettick Lee Cardelo- Smith dd not commit any sexually offense and was and y

excluded from any. sexual offense or reports of s@xual encounters by any persons during any)

fire frame of any residency in the City of Detroit, or in Any County In the Stata af Michigan and,

Any Reports, Documents or Others thal fst, site, discuss, contain, or have the Name af
Cwiien DERRICK LEE CARDELLO-SMITH in it during the time frames of 1992-1998, are if
fact, FALSE REPORTS, FALSE STATEMENTS and Should Exckxde Mr. Derrick Leg

investigations that carnot be revealed at this time_ ver, Mr. Derrick Lee Cardello- tH

was in fact the targat of these wornen due to the wornen being instructed to and paid to da 3
by Detrot Potce Officers that Derrick Lee Cardela-Smith has prior history and Bad Blood ws iH
based on previous encounters. Derrick Lee Cardelio-Smith has in fact been the Victim

abuse of power and cther arimes. The named persons and parties who were paid by the
Former Detectives of the Detroit Police Department and Named Females Who fied Fate
Pose Reports are in fact Ested on the accompanying report aftachment, as that the oharges
are falze, the reports have to be redacted and vouded from the Law Entorcament Informatot
Network to Ersure that Derrick Lee Cardefo-Smith is not Ested as a Sex Offender in f
MDOC or any other Public Record. Derrick Lee Cardello-Srnith is not a Sex Offender and t
Internal Docurnents Musi Follow hirn to the MDOC and not the Incorrect Docurnents.

tails Le. kennar 5189
Patrick Jackmart, Pubic Records Supervisor DP

!

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.17 Filed 10/16/24 Page 17 of 26

STATE OF MICHIGAN
IN THE 39TH CIRCUIT COURT FOR LENAWEE COUNTY

DERRICK LEE CARDELLO-SMITh #267009,

Plaintiff,
Ns Case No 24-7362-N0
Honorable Anna Marie Anzalone
SEAN COMBS,
Defendant,

AFFIDAVIT OF WITNESS AARON ROGERS
SEEING, HEARING, VIEWING THE EVENTS OF AND AS
TO SEAN COMBS SEXUAL ASSAULT OF PLAINTIFF IN 1997 AND
SIGNING OF AGREEMENT BETWEEN WAYNE COUNTY PROSECUTOR KYM WORTHY ,

FORK AL

“SEAN CUMS UF BAD BUY RECORDS, DETROIT PHCICE CF FEEER-PATFREGIC SAGA,
ROBERT FICANO, WARREN EVANS, WAYNE COUNTY OFFICIALS,
GEORGE PRESTON, DOROTHY DUNN, BUSINESS OWNERS AND NOTARIZED AND VERIFIED
AFFIDAVIT OF MR. ARRON ROGERS TO MULTIPLE FELONIES AND COVER-UP

My name is Aaron Rogers and I am making this statement with the events
described’ herein as that they are true, real, accurate, happened and
occurred and this Affidavit is made Freely, voluntarily, and is not done
with any other purpose accept to have the truth heard and known. ~

4. That in. June, 1997, while In the company af Sean Combs, also ‘known as
Bad Boys Record Quner, and his crew, I attended a Sex Party and Get
Together.

2. Mr. Combs, and Mr. Cardello-Smith and 20 other people had invited me
. to join them for said party and get together, by starting in the Aus.

3, This Bus had so many different wonderful things on it, TVS, VCR, GUNS,
DRUGS, EVERYTHING A MAN OR WOMAN WOULD NEED.

&. Derrick was serving drinks to everyone...I had met him and diddy at

the Fishbones Rythym kitchen and Cafe Place in Detroit on Monroe.
5. We parked at a Hotel in Adrian, Michigan where there was a sign that
said, "HOLI-DAYS INN, COMING SOON." "NEW OWNERSHIP", We all went into roam
21 as that Mr. Combs had rented and taken over 6 rooms for the whole creu.
Derrick has started performing oral sex on a woman and she wanted her pussy
eaten and he was eating it, I was still young so I did not know what it
was, but I know she liked it and she said that "he knew what he was doing!
She started Cumming and He Seemed to care about her getting pleasure
because he was happy to be there...Mr. Combs was wondering why all the
women were starting to go over to Derrick....They had an. argument, and
Derrick Hit Mr. Combs in his throat and Combs fell down....Derrick was then
restrained by his Guards....Sean said, it's okay, let him go..

6. I observed Mr. Combs Offer Mr. Smith a Drink, it was Jim Beam I
believe, and then Smith Passed out.

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.18 Filed 10/16/24 Page 18 of 26

7. I then saw Mr. Combs-Slide Mr. smiths Pants off, after taking his
Boots off, and I thought that that was kind of strange...... Then, i saw Mr.
Combs, slide Oil out of a bag that he had onto Mr. smiths Sutt Cheeks and
all the while, he was stroking his own Dick and then he took his dick and
Placed. it at the Top of Mr. Smiths Cheeks. At which time, Mr. Smith
started to awaken and then Mr. Combs grabbed a Needle and Injected
Something directly into Mr. Smiths arm and and punch Mr. Smith and knocking
him out- even—further....He -then took a Gun, it was--a-38 silver -and. hit-Mr.
Smith in the head with it, ana then, Mr. Combs took His Seriously Erect

Dick out and He then Plunged it deep into Mr. Smiths Butt..... I could hear
Mr. Smith Moan horribly and Cambs Put the Gun to his neck and then was
holding it telling Derrick... "If you move, or scream, I will pull the

trigger".... I was frazen in fear and shock at what I was seeing... The
Clock said 8:40 and it went on for 2 hours... I had never seen anything
like this... Derrick then came too and was bleeding from his Anus and I wes
going to call the Police, but there was already an officer present with 2
women....lt said Adrian in it!

8. Derrick then got up scared and looking around and Combs the4n said, "I

got that anyway and take that. take that! Derrick--was just shocked-snd aot

Lb

up and ran, he fell because he could not even walk, there was so much Blood
coming out of his Ass, and then, he grabbed his Boots and Pants and Ran out
of the Room.

9. Then, Derrick was out of my sight for a little while...Mr. combs then
stayed there and asked the women if they wanted him to eat them out and
they said, no, and they were just as shocked by Mr. Combs, because he had
Just Raped a Man and it was nothing to him, but, he had epparently done it
before to them and other men as well, so What was the difference?

~— ee ee ~ -

10. We left and then we went ta a Place in Detroit because Mr. Combs said
that he has to "Meet with some Law Enforcement and Government~ Folks in
Detroit, at the Police Crime Lab....I stayed with them because I was still
thinking about him just having raped’ a man and it was something I had never
seen in my 17 years on earth...ever/ it was pretty bad... .

11. Then, there was a Terrible Woman who showed up when we got there and
it was someone J remember from just a few years earlier on TV that had
Charged 2 Police Officers with Killing Malice Green with their flashlights

andrea tras eye thy Sire as tie Hay ne Corer Presets ter
Knows Ms. Worthy, she is a dangerous tough woman.... She was talking to Mr.

Combs and There was some other people their named Evans, Ficano and Jackson
too, a whole lot of people....

12. Then, out of nowhere, comes a Z-28 Speeding and it damn near hit me
and It stopped...a Man got out and it was Derrick, he was scared and
yelling and bleeding all down his legs and he has some metal in his hands
and he hit 2 of the crew body guards in their knees and then grabbed Mr.
Combs, and threw the pipe down and hit him so fast in his Throat that Combs
fell too the ground and Then The women tlorthy came up to Derrick and she
said something like..."He you, whoever you are, you had better not mess up |
my investment and if you do, I will take one of these rape kits and put you |
in prison for rape!" Derrick then looked at her and said, this Mother

Fucker Raped me! "She said, So what, he does it all the time, where do you
think I get the Women from? He then said, you just want to lock men up for
things they do not do, and she said, I sentence them now too, Just Try
me...! Derrick then said, Your Horrible, she said, So! Then Some Officers
from Adrian and Lenawee and Detroit all calmed things down and Derrick,
Her, Mr. Combs and some other guys that look famous all went to the Hood of
his car and he was writing up something, and they ell signed it... Then,

~-—him—and Kym -signed—a—separate document!.-It was all -pretty—bad... Then -

Derrick was taken to the Hospital in an Ambulance... I went with him
because I felt I should....

13. I did not see anything about Derrick anymore until he was in prison

with me and we both got charged with Rape cases by that same woman, Kym

Worthy in 2019... It was pretty bad because she had lied about her

knowledge of the Rape Kits because she knew about them in 1997 and-lied and

said she discovered them in 2009 or 2010.. Aut she is a horrible person and
: ’ Derrick was raped, repeatedly by Sean Combs...

I am coming forth now to tell the truth because what happened 4 was horrible

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.19 Filed 10/16/24 Page 19 of 26

--3nd- dust plain. Wrong: wee oe letmeeete eee ee ee eee ee ne we ve wee ee mice cee eee tet ee ee ee

14. I also remember Kym and Sean Saying that they would 'Kill derricks
Family if he said anything and Derrick tlanted his family safe and also,
Sean told him that he would be able ta get 49% of his entire empire for the
money he gave him now.

15. Kym Worthy had specifically told Police Officer Patrick Jackman to
"Go to the Hospital and get the Rape Kit on Mr. Smith because it will in
fact, have Sean combs Semen in it and hold it and make sure that you seal
it upsand give it-to-me....-I-will Hold it...+Mr.-Jackman then said, -are you
sure, because we Can just keep it in the warehouse and that will be okay,
just put it with the rest! Kym said, no, this one is special to me and I
have a feeling about it, beside, they will not search my Chambers, and I
will have the power to handle any plea deals with Smith... So go and get it
and then bring his nut juice back to me, okay... Patrick Jackman told Jerry
Redlin from Adrian PD that he will take it from here and Redlin said,
Okay...I am cool with that...

16. Sean Combs had told him that he was facing bankruptcy because of

Sera th Ree —Recerds—darm eer apg thee suerass so hesas

looking in every City for Money and the word spread through the
Undergrounds, end Derrick was paying him for his investment and properties
and things like that!

Iam telling the truth and have nothing to gain from lying, that Man was
raped by Sean Combs and He had a Signed Agreement between SEAN COMBS, KYM
WORTHY, AND OTHER PEOPLE, and I saw all these events take place and
transpire in this matter and I promise you it happened.

I can verify it and I will testify to it in open court.... Judge Anzalone,
You have a Man in front of you that was raped by Sean Combs and it was
covered up by the Wayne County Prosecutor and it must get cleared up
because it was wrong and it is something that I knew about for years, but I

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.20 Filed 10/16/24 Page 20 of 26

could not do anything until I saw that they arrested Mr. Combs and I will
testify to it Completely in your court if you want too!

I can tell you this much, I am not a Liar and Derrick Lee Cardello-Smith
was Framed for Multiple Rapes by Kym Worthy, the wayne County Prosecutor
and He -was~Raped, -and-Assaulted-by Sean Combs. and I will testify to,-it-
because it happened, it is true and it is real and that is a fact, no
matter what the other people say, I was 17 and I saw this happen, and I,
have nothing to gain by coming out and saying these things, I truly do not
and it is because they are true that I am saying it.

VERIFICATION AND DECLARATION OF AFFIDAVIT AND CONTENTS

T swear and declare to this Court that the Details of this Affidavit are in
fact True, Real and Factual and that they happened and they are completely
True and real and that I know it because I witnessed it, I saw it, I
observed it and I know that it happened and that I have personal knowledge,

= HePtenee ith _thes3-—-syventeu. DA GaHES Twas there.and they happened and are.

real and true and I will speak to these events as that they happened and
are real and true and I swear to it before a Notary Public in the State of
Michigan in the County of Muskegon, and will do it in any court or area or
press as that it is real, just call upon me and I will attest to them, anc
I ask for no deal and have been offered nothing, I was only scared because
of Sean Combs and his reach...he is locked up now, sa I am not scared

anymore..
_ =
eee Bergen September 23, 2024
Mrz-Aaron Rogers—=—s—40= - meee ee
#360900

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive
Muskegon, MI 49444

Qs \ ene en GU o 3°: oY
Sokary Pulic-Muskegon County
I am a Notary Public in Muskegon, Michigan and Mr. Aaron Roger appeared

$4.4 -——— 4

before —re—vwotoritartty—end—snears-—to--the events deserted —ai-thin—the
document that they are his own words and his oun statements and that they
are true and i notarize his presence and Signature to these events
described herein on this 23rd Day of September, 2024.

B JONES
Notary Public, State of Michigan

Ceunty ef Muse) yf - Qo ads

My Commissien Expires

Acting inthe Ceunty of pausk.5on

wwe ol eee ee oe Bk me ee eee ee ty ey

Gage eet 8891 0737-BRM-DRG ECENo. 1, PagelD.21 Filed 10/16/24 Page 21 of 26

ey

STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF LENAWEE

DERRICK LEE CARDELLO-SMITH,

Plaintiff,
V.
SEAN COMBS,
Defendant.

Case No. 2024-7362-NO

Hon. Anna Marie Anzalone

Derrick Lee Cardello-Smith

MDOC # 267009

Plaintiff In Pro Per

Eamest C. Brooks Correctional Facility
2500 S. Sheridan Drive

Muskegon;MI 49444 ———_-__.

David H. Fink (P28235)
Nathan J. Fink (P75185)
David A. Bergh (P83696)
Calder A.L. Burgam (P87203)
FINK BRESSACK
Counsel for Defendant. — 2
38500 Woodward Ave., Suite 350
Bloomfield Hills, MI 48034
Tel.: (248) 971-2500
dfink@finkbressack.com
nfink@finkbressack.com
dbergh@finkbressack.com
cburgam@finkbressack.com

-AFFIDAVIT.OF KYM.L.-WORTBY.

STATE OF MICHIGAN )
) ss
COUNTY OF WAYNE )

Sea an

I, Kym L. Worthy, being first duly swom, depose and state that | am the current Wayne

County Prosecutor. I make this affidavit based upon my own personal knowledge.

1. I affirm that I have never seen these documents proposed by Plaintiff before being shown

_by_counsel. (Exhibit A)... __ ou ween ee ee
2. I further affirm that I did not sign these documents.

3. I further affirm that I did not generate these documents.

4. I further affirm that the signature on these documents is not my signature.

5. I further affirm that I have never met Mr. Sean Combs.

6. I further affirm I have never entered into any agreement with Mr. Sean Combs.

BE 0737-BRM-DRG ECF No. 1, PagelD.22 Filed 10/16/24 Page 22 of 26

My commission expiies.

7. | further affirm I have never entered into any agreement with Mr. Cardello-Smith.

If called as a witness, [ am competent to testify as to the facts and circumstances averred

to herein. Further, the affiant sayeth not.

Kym.L. Worthy

ma at ~

“WANAKSESSION |

'
A

4

Case 2:

2

. v

OD >

~< “RO
z x ~
4 . r-
’

Y
x

7
“Rn.
a

“NX

. ‘

‘NAPE -
greement To al/Clains

YP a opt -%

Te, Fy Ue
a

sa ghee?

. : ’

1h nibs. ropenNianisd

“US.

SYED iOS Fron [C27 = 2027, Ts.2
2e0 Sats. {9oney andl Rape

AS: ean r Lopes, A love/ ad Sika) 557

oC ash ZA LEST SAS) Ip

EER a

ich LP CLT #

a! as “
‘ ved

hi apr og £2 .

LZ. wh:
é: SETS? 7~t

ye Ag rc COMA bs

2 S/BED
gloom [ef
: 3 eae

Sebo

WAVE

sods v3. <1
Be in
LPG she:
. eS
VIF pA AD. a
Poe ee r “yy =e
Lee > TVett Steacteece oe
2
" : Ih

Bee

Lees

ABO

Case 2:24-cv-12737-BRM-DRG ECF No. 1, PagelD.25 Filed 10/16/24 Page 25 of 26

Mr. Derrick Uee Cardello-Smith
#267009
@E.C. Brooks Correctional Facility
2500 S. Sheridan Drive
Muskegon, MI 49644

October 8, 2024
\

Office of the Clerk
United States District Court

theodore Uevin US Courthouse
231 W. Uafayette Blvd
Detroit, MI 48226

Re: Derrick Uee Cardello-Smith VS Sean Combs et al
Case No -New Filing.

Dear Clerk:

Enclosed for filing in the above cause, the following Complaint
and exhibits against Defendant Sean Comb.

I ask you please assign a case’ number and judge to this matter so
that i can file the Brief in Support.

thank you for~ your time and I hope to hear from you soon,

- ee oo ew —_—r.
. me - a =
Case 2:24-Cv-12737-BRMDRG—ECE-Me_l. -Regehanmerfilbc-Terrertt Page Dtohe-—

AGM ett aaah .

at) Office of the Clark

tates District ceurt
e Cavin US Courthouse
3t WU. Uafeyette Bivd
' Detroit, MI 48226

